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                             ARCADIA GROUP (USA)
                          19 LIMITED trading as Topshop and
                             TOP SHOP/TOP MAN LIMITED
                          20 trading as Topshop ARCADIA
                             GROUP LTD
                          21
                                                     UNITED STATES DISTRICT COURT
                          22
                                                   CENTRAL DISTRICT OF CALIFORNIA
                          23
                                                          WESTERN DIVISION
                          24
                             ITALIAN CONNECTION, INC. dba ) Case No. 2:14-cv-4734 JFW (MRWx)
                          25 BILA OF CALIFORNIA, a California )
                             Corporation,,                        ) STIPULATION OF DISMISSAL
                          26                                      ) WITH PREJUDICE
                                          Plaintiff,              )
                          27                                      )
                                   vs.                            )
                          28                                      )
                             ARCADIA GROUP (USA) LIMITED )
IRELL & MANELLA LLP
A Registered Limited Liability
 Law Partnership Including
 Professional Corporations
                                 3138959                 STIPULATION OF DISMISSAL WITH PREJUDICE
                 Case 2:14-cv-04734-JFW-MRW Document 25 Filed 10/06/14 Page 2 of 3 Page ID #:125



                             1 dba TOPSHOP, a California             )
                               Corproation; BAND OF GYPSIES,         )
                             2 INC., a Califonira Corporation; UNGER )
                               FABRIK, LLC dba BAND OF               )
                             3 GYPSIES, a Delaware Limited Liability )
                               Company; and DOES 1-10, inclusive,, )
                             4                                       )
                                            Defendants.              )
                             5                                       )
                             6
                                           Plaintiff Italian Connection and Defendants Unger Fabrik, LLC, and
                             7
                                 ARCADIA GROUP (USA) LIMITED trading as Topshop and TOP SHOP/TOP
                             8
                                 MAN LIMITED trading as Topshop ARCADIA GROUP LTD (collectively
                             9
                                 “Defendants”), by and through their undersigned counsel, hereby stipulate as
                          10
                                 follows:
                          11
                                           WHEREAS, the parties to the above-captioned action have agreed to dismiss
                          12
                                 this action with prejudice;
                          13
                                           NOW, THEREFORE, THE PARTIES HEREBY STIPULATE AND
                          14
                                 AGREE as follows:
                          15
                                           Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
                          16
                                 Plaintiff Italian Connection hereby dismisses the above-captioned action with
                          17
                                 prejudice, including without limitation as to all claims asserted and all parties named
                          18
                                 in the complaint filed in this action on or about June 19, 2014, and in the amended
                          19
                                 complaints filed on or about July 1, 2014, and September 3, 2014.1 The parties
                          20
                                 further expressly waive any and all rights of appeal in the above-captioned action,
                          21
                                 and the parties further agree that each party shall bear its own costs and attorneys’
                          22
                                 fees.
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                                  1
                                    Band of Gypsies, Inc. was dismissed from the case on June 27, 2014.
                          28 Dk. No. 10.
IRELL & MANELLA LLP

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A Registered Limited Liability
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 Professional Corporations
                                 3138959                        STIPULATION OF DISMISSAL WITH PREJUDICE
                 Case 2:14-cv-04734-JFW-MRW Document 25 Filed 10/06/14 Page 3 of 3 Page ID #:126



                             1 Dated: October 6, 2014                        IRELL & MANELLA LLP
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                             2                                             Kevin P. Kiley
                             3
                             4
                                                                           By: /s/ David Nimmer
                             5                                                 David Nimmer
                                                                               Attorneys for Defendant
                             6                                                 UNGER FABRIK, LLC dba BAND
                                                                               OF GYPSIES
                             7
                             8                                             WILLIAM E. STONER, PC
                                                                           William E. Stoner
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                          11                                               By: /s/ William E. Stoner
                                                                               William E. Stoner
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                                                                               ITALIAN CONNECTION, INC. dba
                          13                                                   BILA OF CALIFORNIA
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                          17                                               By: /s/ Patrick Park
                                                                               Patrick Park
                          18                                                   Attorneys for Defendant
                                                                               ARCADIA GROUP (USA) LIMITED
                          19                                                   trading as Topshop and TOP
                                                                               SHOP/TOP MAN LIMITED trading
                          20                                                   as Topshop ARCADIA GROUP LTD
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IRELL & MANELLA LLP

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A Registered Limited Liability
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                                 3138959                STIPULATION OF DISMISSAL WITH PREJUDICE
